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 Attorneys for Plaintiff

                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,

                      Plaintiff,

       vs.                                    No. 4:16-cr-00008-RRB
 THOMAS DAVID WHOLECHEESE,

                      Defendant.


   SUPPLEMENT TO RESPONSE IN OPPOSITION TO “MOTION FOR
  COMPASSIONATE RELEASE PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)”

       In its response opposing the defendant’s motion for compassionate release, ECF No.

61, the government asserted that the defendant had not requested compassionate release

through the Bureau of Prisons. That claim was incorrect: BOP has since informed the

government that the defendant did submit a request for compassionate release to

BOP on May 15, 2020. That request was denied on May 28. As noted in the denial letter,

Wholecheese has the opportunity to appeal this decision within BOP. He has therefore not




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yet “fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to

bring a motion” requesting compassionate release on his behalf: he must either do so, or

wait until 30 days has passed from his first request, before bringing this matter to court. 18

U.S.C. § 3582(c)(1)(A). United States v. Alam, --- F.3d ---, 2020 WL 2845694 (6th Cir.

June 2, 2020). Accordingly, the court still lacks jurisdiction to hear his claim at the present

time. Moreover, denial of the request remains appropriate for the reasons set forth in the

original response.



RESPECTFULLY SUBMITTED June 4, 2020 at Anchorage, Alaska.

                                           BRYAN SCHRODER
                                           United States Attorney

                                           /s James Klugman
                                           JAMES KLUGMAN
                                           Assistant United States Attorney
                                           United States of America

CERTIFICATE OF SERVICE

I hereby certify that on June 4, 2020
a true and correct copy of the foregoing
was served electronically on:

Burke Wonnell

/s James Klugman
Office of the U.S. Attorney




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